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Canter, Jacob

From:                  Canter, Jacob
Sent:                  Friday, September 9, 2022 5:06 PM
To:                    SDPS
Cc:                    Lee, Katie
Subject:               Request for Immediate Service of Documents
Attachments:           ECF 19 (Court Order).pdf; Court Order Granting in Part and Denying in Part Motion.pdf


Hello,

We need the two attached documents served on all of the below addresses for the associated corporations. We also
need affidavits proving service immediately after service is effectuated. Please take all steps necessary to make this
happen immediately.

GoDaddy, Inc. (Delaware corp.)
251 Little Falls Drive, Wilmington DE, 19808
2155 E GoDaddy Way, Tempe AZ, 85284

GoDaddy.com LLC (Delaware corp.)
251 Little Falls Drive, Wilmington DE, 19808
2155 E GoDaddy Way, Tempe AZ, 85284

Manifold Finance, Inc. (Delaware corp.)
651 N. Broad St., Suite 201, Middletown DE, 19709

Dynadot LLC (California corp.)
205 E. 3rd Ave., Suite 314, San Mateo, CA 94401
210 S Ellsworth Ave., Unite 345, San Mateo, CA 94401
12670 Viscaino Ct. Los Altos, CA 94022


Please confirm receipt of this email. Thank you,


Jacob Canter
Pronouns: he/him/his
jcanter@crowell.com
+1.415.365.7210 direct | +1.415.385.3716 mobile
LinkedIn

Crowell & Moring LLP
3 Embarcadero Center
26th Floor
San Francisco, CA 94111


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